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                           UNITED STATES DISTRICT COURT

                             DISTRICT OF CONNECTICUT


DINORYS BRACHO, AS PARENT                   :
AND NEXT FRIEND OF DANILO                   :      CIVIL NO.
BRACHO, AND INDIVIDUALLY                    :
                                            :
v.                                          :      JANUARY 3, 2018
KENT SCHOOL                                 :


                                        COMPLAINT

I.     Jurisdiction and Venue

       1.     This Court has jurisdiction over plaintiff’s claims pursuant to 28 U.S.C. §

1332(a). The plaintiff resides in and is a citizen of Portugal, and the defendant is a

non-stock corporation formed pursuant to the laws of the State of Connecticut with its

principal place of business in the State of Connecticut. The amount in controversy

exceeds $75,000.00, exclusive of interest and costs.

       2.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(a) in that the

defendant resides in this District and a substantial part of the events, acts and

omissions giving rise to the plaintiff’s claims occurred in this District.


II.    Parties

       3.     Plaintiff Dinorys Bracho is the mother of Danilo Bracho.

       4.     Defendant Kent School is a non-stock corporation formed pursuant to the

laws of the State of Connecticut with its principal place of business in the State of

Connecticut. At all times mentioned herein, Kent acted by and through its agents,
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employees and representatives, including English teacher and Road Biking activity

supervisor John Hinman.

III.   FIRST CLAIM FOR RELIEF

       5.     Defendant Kent School maintains and operates a private boarding school

for grades nine through 12 in Kent, Connecticut.

       6.     Since its founding in 1906, Kent has held itself out as one of the nation’s

leading secondary schools.

       7.     At all times mentioned herein, Kent accepted students for residential living

on school grounds, and assumed responsibility, in the absence of the students’ parents,

for the protection, safety, welfare and wellbeing of those students.

       8.     At all times mentioned herein, Kent held itself out as offering to its

students safe, adult-supervised, activities, including, in the spring of 2016, an activity

called Road Biking.

       9.     Kent School required its students, including Danilo, to participate in these

activities each term.

       10.    Kent described the Road Biking activity as daily bicycle rides generally

between 12 and 25 miles on secondary roads whenever possible, including some dirt

roads that are easily navigable by road bike.

       11.    The Road Biking activity was open to no more than seven students of all

biking levels and experience including novice beginner riders, the only requirements

being that the student supply his or her own helmet and bicycle.




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       12.    In the spring of 2016, at least two of the students participating in the Road

Biking activity were experienced competitive cyclists who, at times, had represented

Kent School in bike races and who set a fast and aggressive pace on the group rides.

       13.    The Kent School staff member and adult supervisor in charge of the Road

Biking activity was an English teacher named John Hinman, who on information and

belief had no professional training in coaching cycling, maintaining bicycling equipment,

or leading group rides.

       14.    Danilo Bracho was born on July 2, 2000.

       15.    In the fall of 2015, a few weeks after his 15th birthday, Danilo moved from

his native Portugal to Kent, Connecticut, and enrolled in Kent School’s freshman class.

       16.    At the time of his admission and enrollment, Kent School promised Danilo

and his mother that it would do everything possible to protect him from harm, to

maintain his health and welfare, and to keep him safe while attending the school,

residing on school grounds, and participating in school-sponsored activities.

       17.    In the spring of his freshman year, Danilo informed John Hinman that he

would like to enroll in the Road Biking activity, but that he was a novice rider and did not

have his own bicycle.

       18.    With full knowledge of Danilo’s lack of skill and experience, and

notwithstanding that Danilo did not even own a bicycle, Hinman accepted Danilo into

the activity, writing “I have a bike that should fit you.”

       19.    Around the time Hinman accepted Danilo into the road biking activity, he

and Kent knew that there were risks and dangers associated with participating in the

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activity; and they promised that they would provide the necessary training and

supervision, and would communicate rules and safety precautions, to Danilo and the

other students.

       20.    Hinman then loaned to Danilo a pre-owned De Bernardi Italian bicycle for

his use during the activity.

       21.    The De Bernardi bicycle, in addition to being an old frame with old parts,

was poorly maintained, the wrong size for Danilo’s height and weight, and an unsafe

design for a rider with Danilo’s lack of skill and experience.

       22.    The age of the bicycle and its lack of proper design, size, repair and

maintenance were known and/or should have been known to Hinman when he loaned it

to Danilo.

       23.    The bike’s deficiencies and Danilo’s lack of road biking experience were

made apparent to Hinman when, during Danilo’s first ride both tires on the bike flatted,

and during his second ride one or both of the tires flatted again.

       24.    Hinman also had actual knowledge of Danilo’s lack of skill and

experience, and his inability to control the bike, to keep his speed under control and to

otherwise safely operate the De Bernardi, from observing Danilo during the first few

rides of the Road Biking activity.

       25.    Hinman failed to provide to Danilo the necessary training before and

during the road biking activity.

       26.    Hinman failed to communicate to Danilo, and failed to enforce, rules and

safety precautions required to keep Danilo safe from harm while cycling on the road.

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        27.   Hinman failed to provide the necessary supervision required to keep

Danilo safe from harm while cycling on the road.

        28.   During the Road Biking activity on April 21, 2016, Hinman’s and Kent’s

multiple and repeated failures to take reasonable steps to keep Danilo safe from harm

had their inevitable effect.

        29.   Having been abandoned to make his way alone on a dangerous road,

Danilo lost control of the bicycle after a tight curve mid-way down a long steep hill,

crashed head-on into a tree, and suffered catastrophic injuries as a result.

        30.   Bulls Bridge Road, the road chosen for the Road Biking activity that day,

including that portion containing the tight curve and hill where Danilo crashed, had no

center painted median, no signs or other warnings of the curve, no guardrail, and no

shoulder; it was narrow, uneven, the pavement was cracked, it was strewn with gravel

and sand, and poorly-maintained.

        31.   Hinman knew and should have known that it was an entirely unsafe road

upon which to abandon a novice bike rider, especially one riding an unfamiliar and

substandard bicycle.

        32.   Hinman was on actual notice that the Bulls Bridge Road route was so

difficult that one of the student participants vomited while riding the route the previous

week.




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       33.    At the time of the crash, other students in the Road Biking activity and

Ryan Foote, another Kent adult faculty member assigned to supervise the ride that day,

had dropped Danilo from the group, leaving him behind.

       34.    Hinman, who on information and belief had also dropped Danilo from the

group, leaving him behind, was so far away that he did not arrive at the scene of the

crash for more than six minutes after Danilo hit the tree.

       35.    Hinman’s and Foote’s failure to keep the group intact, and their decision

to abandon Danilo to ride by himself, violated safety rules applicable to a non-

competitive group riding activity.

       36.    Sometime later, Kent Volunteer EMS arrived and transferred Danilo to a

Life Star helicopter, and Danilo was flown to Connecticut Children’s Medical Center in

Hartford for emergency triage, evaluation and treatment.

       37.    As a result of the crash, Danilo suffered the following severe and painful

injuries, among others, some or all of which are permanent or have inflicted permanent

sequalae:

              a.     intracranial hemorrhage with loss of consciousness;

              b.     open fracture (exposed bone) to dominant right wrist;

              c.     fracture and dislocation of right elbow;

              d.     fracture of right humerus;

              e.     fracture of right femur;

              f.     grade 4 liver laceration;

              g.     grade 5 kidney laceration;

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    h.    traumatic perinephric hematoma of right kidney;

    i.    trauma to bladder;

    j.    acute renal failure with possible Chronic Kidney Disease;

    k.    systemic inflammatory response syndrome with acute organ failure;

    l.    pulmonary contusion;

    m.    complex regional pain syndrome;

    n.    pain amplification syndrome;

    o.    left leg pain, scrotal pain, intense intervals of sharp stabbing pain in

          both hips, bilateral leg pain, burning, pins/needles, and sensitivity to

          clothes and bedding;

    p.    concussion and cerebral contusion;

    q.    punctate hemorrhage to frontal lobe;

    r.    traumatic brain injury;

    s.    Major Neurocognitive Disorder;

    t.    significant, persistent, post-TBI symptoms, including severe

          cognitive difficulties, headache, affect change, reduced executive

          function, cognitive/linguistic impairment, very slow processing

          speed, and slow speech;

    u.    depression and anxiety;

    v.    Major Depressive Disorder;

    w.    sleep disorder;

    x.    nightmares;

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              y.       excessive fatigue and lack of energy, motivation and enthusiasm;

              z.       severe muscle deconditioning;

              aa.      permanent disability and limited range of motion/extension of right

                       elbow, and permanent disability, loss of strength and lack of

                       feeling/numbness in right hand and fingers, resulting in impaired

                       ability to accomplish ADLs, including dressing, cutting food, and

                       writing;

              bb.      possible carpal tunnel syndrome;

              cc.      possible global nerve problem; and

              dd.      chronic, permanent medical, physical, emotional, psychological,

                       and social sequalae.

       38.    Danilo was hospitalized at the Connecticut Children’s Medical Center for

from April 21 to July 14, 2016.

       39.    Twenty days of his hospitalization was spent in the CCMC Pediatric

Intensive Care Unit.

       40.    For two months, Danilo was intubated and on mechanical ventilation in a

medically-induced coma.

       41.    Danilo was on hemodialysis for four months.

       42.    Danilo endured 19 surgical procedures, and future surgeries are likely

required.

       43.    After a Connecticut State Trooper arrived on the scene, Hinman stated

under oath that: Danilo “is a new rider this season, and his skill level is novice”; Danilo

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“[s]ometimes … goes faster than he should, he has scared me in the past”; and “I was

surprised to see [Danilo] crashed in this curve, it is not dangerous for an experienced

rider.”

          44.   The State Trooper later determined that Danilo “was travelling too fast for

conditions and his experience level, lost control of his bicycle and subsequently

crashed….”

          45.   Dinorys Bracho has incurred hundreds of thousands of dollars in medical

expenses for treatment of Danilo’s injuries, and she and/or Danilo will incur substantial

medical expenses for the remainder of his lifetime.

          46.   As a result of his injuries, Danilo was not able to complete his freshman

year at Kent, and he has suffered derailment, delay and impairment of his social and

educational progress since that time.

          47.   As a result of his injuries, Danilo’s ability to engage in his normal life’s

activities has been permanently impaired and he will be unable to lead and enjoy a

normal life.

          48.   As a result of his injuries, Danilo will be unable to engage in a normal

work-life, and his future earning capacity has been permanently and substantially

impaired.

          49.   As a result of his injuries, Danilo has sustained physical pain and

suffering.

          50.   As a result of his injuries, Danilo has sustained severe emotional distress

and mental pain and anguish over the crash and his condition and the effect it has had

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on his life, and will continue to sustain such emotional distress, mental pain and

anguish over the course of his lifetime.

       51.    Danilo’s injuries and damages were caused by the negligence of

defendant Kent School, its administrators, employees and agents, for whose

negligence defendant is liable, in all of the ways alleged and in one or more of the

following respects:

              a.      it failed to warn Danilo about the risks of the Road Biking activity

                      generally, and about the risks of the Road Biking activity on the day

                      of the crash;

              b.      its employees and agents charged with supervising the Road

                      Biking activity failed to provide necessary and adequate

                      supervision;

              c.      its employees and agents charged with training Danilo to safely

                      participate in the Road Biking activity failed to provide necessary

                      and adequate training;

              d.      its employees and agents provided to Danilo, and allowed him to ride, an

                      unsafe bicycle, especially given his extremely limited skill and

                      experience; and

              e.      its employees and agents failed to prohibit Danilo from continuing to

                      participate in the Road Biking activity once it became known to them that

                      his operation of the bike was unsafe.




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       52.     Kent School owed Danilo a duty of care, it breached that duty in multiple

ways, and its breaches caused Danilo to suffer injuries.



IV.    SECOND CLAIM FOR RELIEF

       1.      The plaintiff repeats and realleges the allegations of paragraphs 1 – 52

of Count One as paragraphs 1 through 52 of this Count Two with the same force and

effect as if fully set forth herein.

       53.     Danilo has incurred hundreds of thousands of dollars in medical

expenses for treatment of his injuries, and will incur substantial medical expenses for

the remainder of his lifetime. These expenses have, to date, been borne in

substantial part, by plaintiff Dinorys Bracho, who will continue to bear a substantial

portion of her son’s medical expenses in the future.

       54.     Plaintiff Dinorys Bracho incurred expenses for her travel between

Portugal and the United States, and necessary housing, when Danilo was first

hospitalized and at various times thereafter in connection with his ongoing

hospitalizations and medical treatments.




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V.   PRAYER FOR RELIEF


     Wherefore, plaintiff prays for the following relief:

     1. Compensatory damages;

     2. Such other relief as the Court deems just and proper.



                                         PLAINTIFF



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                         UNITED STATES DISTRICT COURT

                            DISTRICT OF CONNECTICUT


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AND NEXT FRIEND OF DANILO                  :        CIVIL NO.
BRACHO, AND INDIVIDUALLY                   :
                                           :
v.                                         :
                                           :        JANUARY 3, 2018
KENT SCHOOL                                :



                               CLAIM FOR JURY TRIAL

     Plaintiff claims this matter for trial by jury.

                                           PLAINTIFF


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